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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SUNIL BHATIA, derivatively on behalf of
 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,                                                Case No. 1:18-cv-02387

                         Plaintiff,                   Honorable Judge Dow

 v.                                                   Honorable
                                                      Magistrate Judge Jantz
 RAJU VASWANI, an individual,
 KARAN VASWANI, an individual,
 ASSIVO, INC. (f/k/a MV OUTSOURCING,                  JURY TRIAL DEMANDED
 INC.), an Illinois Corporation,

                         Defendants,

 and

 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,

                         Nominal Defendant

              PLAINTIFF’S MOTION FOR ACCESS TO SEALED DOCUMENTS

         Plaintiff, Sunil Bhatia (“Sunil”), by his attorneys, Regas, Frezados & Dallas LLP, for his

motion for access to sealed documents, states as follows:

         1.     The undersigned counsel represents Plaintiff in this matter and, accordingly,

requires access to sealed documents filed in this lawsuit.

         2.     On February 28, 2020, a sealed motion and exhibits thereto were filed in this action.

(Doc. #: 121-124).

         3.     On August 24, 2020, this Court granted the undersigned counsel leave to file their

substitute appearances. (Doc. #: 180).

         4.     On August 25, 2020, the undersigned counsel filed their substitute appearances.

(Doc. #: 182, 183).

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         5.       The confidentiality order entered in this action does not restrict attorneys for the

parties from viewing confidential information. Confidentiality Order, ¶ 5(B)(1). (Doc. #: 109).

         6.       Court personal indicate that an order from the Court is required in order to provide

counsel with access to the sealed documents. A true and correct copy of the correspondence from

court personnel is attached hereto as “Exhibit A.”

         WHEREFORE, Plaintiff requests that this Court enter an order providing his attorneys of

record, Steven M. Dallas and William D. Dallas, with access to sealed documents in this action

and grant such further or other relief as the Court deems just and equitable.

                                                                      Regas, Frezados & Dallas LLP


                                                                      By:/s Steven M. Dallas
                                                                         Attorneys for Plaintiff
Steven M. Dallas 6303138     stevend@rfd-law.com
William D. Dallas 6186780    wdd@rfd-law.com
Regas, Frezados & Dallas LLP
20 N. Clark St., Ste. 1103
Chicago, IL 60602
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                                           CERTIFICATE OF SERVICE

          The undersigned that on September 17, 2020, I caused to be filed with the Clerk of the United
States District Court for the Northern District of Illinois Plaintiff’s Motion for Access to Sealed Documents
using the Court’s ECF system, which automatically results in the transmission, by e-mail to all parties in
this action who have registered use the ECF in the Northern District of Illinois, of a notice of electronic
filing that constitutes service, pursuant to the general order issued by this Court and the Federal Rules of
Civil Procedure.

[]       Under penalty of perjury, I certify
          that the statements set forth
          forth herein are true and correct.    /s Steven M. Dallas
                                                Signature




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